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                       4 Email:        afriedman@shbllp.com

                       5 Attorneys for Debtors and Debtors-in-Possession

                       6

                       7
                                                     UNITED STATES BANKRUPTCY COURT
                       8
                                            CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION
                       9

                     10 In re                                              Case No. 8:15-bk-15311 MW
                     11 FREEDOM COMMUNICATIONS, INC., a                    Chapter 11
                        Delaware corporation et al.,
                     12                                                   (Jointly Administered with Case Nos.
                                      Debtors and Debtors-in-             8:15-bk-15312-MW; 8:15-bk-15313-MW;
                     13               Possession.                         8:15-bk-15315-MW; 8:15-bk-15316-MW; 8:15-
                        Affects:                                          bk-15317-MW; 8:15-bk-15318-MW; 8:15-bk-
                     14                                                   15319-MW; 8:15-bk-15320-MW; 8:15-bk-
                            All Debtors                                   15321-MW; 8:15-bk-15322-MW; 8:15-bk-
                     15                                                   15323-MW; 8:15-bk-15324-MW; 8:15-bk-
                            Freedom Communications, Inc., a Delaware      15325-MW; 8:15-bk-15326-MW; 8:15-bk-
                     16 corporation, ONLY                                 15327-MW; 8:15-bk-15328-MW; 8:15-bk-
                                                                          15329-MW; 8:15-bk-15330-MW; 8:15-bk-
                     17          Freedom Communications Holdings, Inc., a 15332-MW; 8:15-bk-15337-MW; 8:15-bk-
                            Delaware corporation, ONLY                    15339-MW; 8:15-bk-15340-MW;
                     18                                                   8:15-bk-15342-MW; 8:15-bk-15343-MW)
                                 Freedom Services, Inc., a Delaware
                     19     corporation, ONLY                             UPDATED CHAPTER 11 STATUS
                                                                          CONFERENCE REPORT
                     20          2100 Freedom, Inc., a Delaware
                            corporation, ONLY
                     21                                                   DATE: August 1, 2018
                                 OCR Community Publications, Inc., a      TIME: 9:00 a.m.
                     22     California corporation, ONLY                  Place: Courtroom 6C
                                                                                    411 West Fourth Street
                     23          Daily Press, LLC, a California limited             Santa Ana, California 92701
                            liability company, ONLY
                     24
                            Freedom California Mary Publishing, Inc.,
                     25 a California corporation, ONLY

                     26    Freedom California Ville Publishing
                        Company LP, a California limited partnership,
                     27 ONLY

                     28
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                       1       Freedom Colorado Information, Inc., a
                            Delaware corporation, ONLY
                       2
                             Freedom Interactive Newspapers, Inc., a
                       3 California corporation, ONLY

                       4        Freedom Interactive Newspapers of Texas,
                            Inc., a Delaware corporation, ONLY
                       5
                            Freedom Newspaper Acquisitions, Inc., a
                       6 Delaware corporation, ONLY

                       7        Freedom Newspapers, a Texas general
                            partnership, ONLY
                       8
                             Freedom Newspapers, Inc., a Delaware
                       9 corporation, ONLY

                     10         Freedom Newspapers of Southwestern
                            Arizona, Inc., a California corporation, ONLY
                     11
                            OCR Information Marketing, Inc., a
                     12 California corporation, ONLY

                     13         Odessa American, a Texas general
                            partnership, ONLY
                     14
                            Orange County Register Communications,
                     15 Inc., a California corporation, ONLY

                     16         Victor Valley Publishing Company, a
                            California corporation, ONLY
                     17
                            Victorville Publishing Company, a
                     18 California limited partnership, ONLY

                     19          Freedom SPV II, LLC, a Delaware limited
                            liability company, ONLY
                     20
                             Freedom SPV VI, LLC, a Delaware limited
                     21 liability company, ONLY

                     22          Freedom SPV I, LLC, a Delaware limited
                            liability company, ONLY
                     23
                             Freedom SPV IV, LLC, a Delaware limited
                     24 liability company, ONLY

                     25          Freedom SPV V, LLC, a Delaware limited
                            liability company, ONLY
                     26

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                       1 TO THE HONORABLE MARK S. WALLACE, UNITED STATES BANKRUPTCY JUDGE,

                       2 THE OFFICE OF THE UNITED STATES TRUSTEE, THE COMMITTEE OF

                       3 CREDITORS                 HOLDING       UNSECURED          CLAIMS,     AND      OTHER       PARTIES-IN-

                       4 INTEREST:

                       5             On November 1, 2015 and November 2, 2015 (the “Petition Dates”), the jointly administered

                       6 debtors and debtors-in-possession (the “Debtors”) commenced the above-captioned cases (the

                       7 “Cases”) under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the

                       8 United States Bankruptcy Court for the Central District of California (the “Court”). The Debtors

                       9 continue to operate and manage their affairs as debtors-in-possession pursuant to sections 1107(a)

                     10 and 1108 of the Bankruptcy Code. No request for the appointment of a trustee or examiner has

                     11 been made in the Cases. On November 10, 2015, the United States Trustee appointed a joint

                     12 committee of creditors holding unsecured claims (the “Committee”) in the cases of: (1) Freedom

                     13 Communications, Inc., 8:15-bk-15311-MW; (2) Freedom Communications Holdings, Inc., 8:15-bk-

                     14 15312-MW; (3) Freedom Services, Inc., 8:15-bk-15313-MW; and (4) OCR Community

                     15 Publications, Inc., 8:15-bk-15316-MW.

                     16              The Debtors hereby submit their Updated Chapter 11 Status Report ("Status Report") in
                     17 connection with the August 1, 2018 Chapter 11 Case Status Conference.

                     18              A.          Prior Status Reports
                     19              This status report is a supplement to the Debtors' prior status reports (the "Prior Status
                     20 Reports")1 that were filed with the Court on December 23, 2015 [Docket No. 263], February 24,

                     21 2016 [Docket No. 421], April 6, 2016 [Docket No. 572]; July 20, 2016 [Docket No. 708], November

                     22 30, 2016 [Docket No. 1111], April 12, 2017 [Docket No. 1373], August 23, 2017 [Docket No. 1393],

                     23 November 29, 2017 [Docket No. 1457], April 2, 2018 [Docket No. 1490].

                     24

                     25

                     26

                     27     1
                             Any and all capitalized terms not expressly defined herein shall have the meaning ascribed to them in the
                            Prior Status Reports.
                     28
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                       1             B.          Requirements of Chapter 11 Debtors-in-Possession

                       2             The Debtors are in compliance with their duties under sections 521, 1106 and 1107 of the

                       3 Bankruptcy Code, and the requirements of Rule 2015(2)(a) and (b) of the Local Bankruptcy Rules

                       4 (the “Local Rules”). The Debtors are in compliance with the requirements imposed by the Office

                       5 of the United States Trustee. Since the last status report filed in these Cases, the Debtors filed their

                       6 Monthly Operating Report for the month ending March 31, 2018 [Docket No. 1497], April 30, 2018

                       7 [Docket No. 1505], May 31, 2018 [Docket No. 1510] and June 30, 2018 [Docket No.1513].

                       8             Since the last status report, the Debtors have paid the U.S. Trustee quarterly fees for the

                       9 quarter ending March 31, 2018. Quarterly fees (for the quarter ending June 30, 2018), are due on

                     10 July 31, 2018, and will be paid by the Debtors by the payment deadline.

                     11              C.          Employment of Professionals

                     12              During the course of the Cases the Debtors have been authorized to employ several

                     13 professionals and consultants.             Since the last status report, an order approving the Debtors'

                     14 application seeking an order authorizing the employment of Shulman Hodges & Bastian LLP as the

                     15 Debtors' general insolvency counsel was entered by this Court [Docket No. 1499]. On May 10,

                     16 2018, the Committee filed an Application to Employ Elucidor, LLC as Expert Consultant to the

                     17 Official Committee of Unsecured Creditors [Docket No. 1504]. On June 1, 2018, this Court entered

                     18 its Order [Docket No. 1508] authorizing and approving the employment of Elucidor, LLC.

                     19              D.          Administrative Tax Claims

                     20              Administrative tax claims have been fully paid on a current basis.

                     21              E.          Motion to Sell the Debtors’ Assets

                     22              As this Court is aware, on March 1, 2016, DFM and the Debtors entered into that certain

                     23 Asset Purchase Agreement ("APA"). On March 21, 2016, a hearing was held to consider and

                     24 approve the sale of substantially all of the Debtors’ assets in their print publications, websites and

                     25 mobile applications business and related relief, including their real estate assets and the assumption

                     26 and assignment of contracts and leases, pursuant to the APA. On March 30, 2016, this Court entered

                     27 its Order [Docket No. 562] authorizing the sale to DFM (the "Sale") and on March 31, 2016, the

                     28 Sale closed.
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                       1             F.          Status of Debtors’ Post-Petition Operations

                       2             Upon the closing of the Sale, the primary operations of the businesses were transferred to

                       3 DFM. However, the Debtors' continue to be debtors-in-possession and are in the process of winding

                       4 down the remaining business operations as contemplated under the Sale, and they continue to make

                       5 the necessary decisions to maximize recovery to creditors.

                       6             G.          Status of Post-Petition Litigation Involving the Debtors

                       7             The Debtors are currently involved in nearly thirty actions in multiple courts around the

                       8 country. The Debtors have filed notices of stay in those cases.

                       9             H           Settlement of A/R Dispute

                     10              Since the filing of the last Status Report, this Court entered its Order [Docket No. 1500]

                     11 approving the Debtors Motion for Order Approving Settlement Agreement by and Between the

                     12 Debtors and MediaNews Group, Inc., a Delaware Corporation, d/b/a Digital First Media.           By the

                     13 granting of said motion, a dispute between DFM and the Debtors relating to accounts receivable

                     14 calculations, collection costs and efforts used to collect accounts receivable was resolved and the

                     15 Debtors received a settlement payment of $130,956.15.

                     16              I.          Recovery of Funds

                     17              On June 12, 2018, the Debtors' estates recovered funds in the amount of $393,425.56 that

                     18 were owed to the Debtors stemming from the Debtors' previous chapter 11 cases.

                     19              J.          Proofs of claim

                     20              The Debtors continue to review other claims filed against the Debtors' estates for other

                     21 potential objections and anticipate filing objections to certain administrative/priority claims as well

                     22 as objections to duplicate unsecured non-priority claims.

                     23              K.          State Board of Equalization Refund

                     24              The Debtors continue to actively pursue the recovery of substantial tax refunds from the

                     25 State Board of Equalization ("SBE"). The Debtors are continuing to respond to requests made by

                     26 the SBE for additional information related to an audit commenced by the SBE. It is unclear at the

                     27 present time what impact, if any, the audit will have on the refunds being sought by the Debtors.

                     28 This process may ultimately include Bankruptcy Court intervention.
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                       1             L.          Plan and Disclosure Statement

                       2             To date, the Debtors have worked together with their creditors in a cooperative manner. The

                       3 Debtors have spent significant time working to resolve disputes with their pre-petition secured

                       4 creditors and for any other creditor who has requested it, the Debtors have provided and shared

                       5 information with those creditors. At the present time, the plan process has largely been put on hold

                       6 pending the collection of assets for distribution to creditors.

                       7             M.          Avoidance Actions

                       8             As indicated in the last Status Report, the Committee commenced litigation of fifty (50)

                       9 Avoidance Actions before this Court. Additionally, certain Avoidance Action claims have been

                     10 preserved via tolling of the expiration of the statute of limitations with those defendants. The

                     11 Committee will continue to update the Debtors with respect to these actions. On February 13, 2018,

                     12 the Committee filed its Motion for Order Authorizing and Approving Omnibus Procedure for

                     13 Compromising, Settling or Dismissing Preference Claims Pursued by the Official Committee of

                     14 Unsecured Creditors By the motion, the Committee sought an order seeking approval of a

                     15 streamlined procedure to formally resolve those claims and causes of action that are settled within

                     16 the protocol's parameters. On March 7, 2018, this Court entered its order approving the Committee's

                     17 motion. To date, there have been settlements resulting in the recovery of $425,000 to date and the

                     18 other matters are ongoing.

                     19              N.          Committee's Motion to Approve Settlement

                     20              On June 26, 2018, the Committee filed a Motion for Order Approving Settlement Agreement

                     21 Among the Official Committee of Unsecured Creditors on Behalf of the Debtors, the Pension

                     22 Benefit Guaranty Corporation ("PBGC"), Larry P. Chinn ("Chinn"), Financial Institution Consulting

                     23 Corporation ("FICC"), American Automobile Insurance Company, and the Chapter 7 Trustee of

                     24 Larry P. Chinn's Bankruptcy Estate ("Settlement Motion") [Docket No. 1511]. The settlement

                     25 agreement resolves the claims asserted by the Committee against Chinn and FICC in the adversary

                     26 proceeding captioned Official Committee of Unsecured Creditors of Freedom Communications,

                     27 Inc., et al. v. Kushner, et al., Adv. No. 17-01012-MW. By the settlement agreement a payment of

                     28 $400,000 will be paid to the Committee and PBGC, such payment to be funded entirely by AAIC
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                       1 (Chinn's liability insurer). The settlement payment will be deposited in counsel for the Committee's

                       2 trust account with distribution of the settlement payment among the Debtors and PBGC to be the

                       3 subject of a separate agreement to be submitted for court approval between the Committee and

                       4 PBGC. A hearing on the Settlement Motion is scheduled to be held on July 30, 2018.

                       5             O.          Administrative Professional Fees

                       6             As of this date, there is approximately $3,671,000 in unpaid administrative professional fees

                       7 and expenses. Attached as Exhibit "1" is a Schedule of Unpaid Administrative Professional Fees

                       8 and Expenses.

                       9 Dated: July 25, 2018                                SHULMAN HODGES & BASTIAN LLP

                     10
                                                                             By:       /s/ Alan J. Friedman
                     11                                                                ALAN J. FRIEDMAN
                                                                                       Attorneys for Debtors and
                     12                                                                Debtors-in-Possession
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                           EXHIBIT "1"
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                                 PROOF OF SERVICE OF DOCUMENT

     I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
     address is: 100 Spectrum Center Drive, Suite 600, Irvine, CA 92618

     A true and correct copy of the foregoing document entitled: UPDATED CHAPTER 11 STATUS
     CONFERENCE REPORT will be served or was served (a) on the judge in chambers in the form
     and manner required by LBR 5005-2(d); and (b) in the manner stated below:

     1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
     Pursuant to controlling General Orders and LBR, the foregoing document will be served by the court
     via NEF and hyperlink to the document. On July 25, 2018, I checked the CM/ECF docket for this
     bankruptcy case or adversary proceeding and determined that the following persons are on the
     Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

                                                   Service information continued on attached page

     2. SERVED BY UNITED STATES MAIL:
     On July 25, 2018, I served the following persons and/or entities at the last known addresses in this
     bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
     envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing
     the judge here constitutes a declaration that mailing to the judge will be completed no later than 24
     hours after the document is filed.

     Honorable Mark S. Wallace
     United States Bankruptcy Court
     Central District of California
     Ronald Reagan Federal Bldg. & Courthouse
     411 West Fourth Street, Suite 6135
     Santa Ana, CA 92701-4593

                                                   Service information continued on attached page

     3.     SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE
     TRANSMISSION OR EMAIL (state method for each person or entity served): Pursuant to
     F.R.Civ.P. 5 and/or controlling LBR, on __________ ____, 2018, I served the following persons
     and/or entities by personal delivery, overnight mail service, or (for those who consented in writing
     to such service method), by facsimile transmission and/or email as follows. Listing the judge here
     constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed
     no later than 24 hours after the document is filed.

                                                   Service information continued on attached page

     I declare under penalty of perjury under the laws of the United States that the foregoing is true and
     correct.

       07/25/2018            Erlanna Lohayza                          /s/ Erlanna Lohayza
       Date                   Printed Name                            Signature




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